                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               JACKSON DIVISION
JASON ALAN GRIGGS,
DERENDA HANCOCK,
L. KIM GIBSON,
MISSISSIPPI HUMANIST ASSOCIATION,
and AMERICAN ATHEISTS, INC.,                                                      PLAINTIFFS

v.                                               CIVIL ACTION NO. 3:21-cv-416-CWR-LGI


CHRIS GRAHAM,
JONATHON TATE REEVES,
LYNN FITCH,
DAVID MCRAE,
SHARON NASH BARNETT,
EDDIE J. FAIR,
KAY PACE, and
CAROLINE GILBERT,                                                               DEFENDANTS


                                    NOTICE OF APPEAL

       Plaintiffs, Jason Alan Griggs, Derenda Hancock, and American Atheists, Inc. appeal to

the United States Court of Appeals for the Fifth Circuit from the final judgment entered on

March 2, 2023 [Doc. No. 38].

       RESPECTFULL SUBMUITTED, this 3rd day of April, 2023.


                                                    DIANNE HERMAN ELLIS


                                                By: /s/ Dianne Herman Ellis
                                                    Dianne Herman Ellis
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                                                   Counsel for Plaintiffs




                                CERTIFICATE OF SERVICE

        I GEOFFREY T. BLACKWELL, do hereby certify that I have this 3rd day of April, 2023,
electronically filed the foregoing document with the Clerk of the Court utilizing the ECF system
which sent notification of such filing to all counsel of record.


                                                By: /s/ Dianne Herman Ellis
                                                    DIANNE HERMAN ELLIS
